            Case 6:21-cv-00670-ADA Document 1 Filed 06/25/21 Page 1 of 21




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


 VOIP-PAL.COM, INC.

                Plaintiff,                         CIVIL ACTION NO. 6:21-cv-670

        v.
                                                   JURY TRIAL DEMANDED
 APPLE, INC.,

                Defendant.


                ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff VoIP-Pal.com, Inc. (“VoIP-Pal”), for its Complaint against Defendant Apple, Inc.

(“Apple”), alleges as follows:

                                         THE PARTIES

       1.       Plaintiff VoIP-Pal is a Nevada corporation with its principal place of business

located at 7215 Bosque Boulevard, Waco, Texas 76710. VoIP-Pal is registered to do business in

the State of Texas.

       2.       On information and belief, Defendant Apple is a California corporation with

physical addresses in this District at 12545 Riata Vista Circle, Austin, Texas 78727; 12801 Delcour

Drive, Austin, Texas 78727; and 3121 Palm 4 Way, Austin, Texas 78758. Apple may be served

with process through its registered agent, the CT Corp System, at 1999 Bryan St., Ste. 900 Dallas,

Texas 75201-3136. Apple is registered to do business in the State of Texas and has been since at

least May 16, 1980.

       3.       On information and belief, Apple regularly conducts and transacts business in the

State of Texas, throughout the United States, and within this District, and as set forth below, has
            Case 6:21-cv-00670-ADA Document 1 Filed 06/25/21 Page 2 of 21




committed and continues to commit, tortious acts of infringement within and outside the State of

Texas and within this District.

                                  JURISDICTION AND VENUE

       4.       This action is a civil action for patent infringement arising under the patent laws of

the United States, Title 35, United States Code (“U.S.C.”) §1 et seq., including 35 U.S.C. §§ 271

and 281-285. This Court has exclusive subject matter jurisdiction over this case for patent

infringement under 28 U.S.C. §§ 1331 and 1338.

       5.       This Court has personal jurisdiction over Apple by virtue of its systematic and

continuous contacts with this jurisdiction, as alleged herein, as well as because the injury to VoIP-

Pal occurred in the State of Texas and the claim for relief possessed by VoIP-Pal against Apple

for that injury arose in the State of Texas. On information and belief, Apple has purposely availed

itself of the privileges of conducting business within the State of Texas, such business including

but not limited to: (i) at least a portion of the infringements alleged herein; (ii) purposefully and

voluntarily placing one or more infringing products or services into the stream of commerce with

the expectation that they will be purchased by consumers in this forum; or (iii) regularly transacting

or soliciting business, engaging in other persistent courses of conduct, or deriving or attempting to

derive substantial revenue and financial benefits from goods and services provided to individuals

residing in the State of Texas and in this District. Thus, Apple is subject to this Court’s specific

and general personal jurisdiction under due process and the Texas Long Arm Statute.

        6.      Personal jurisdiction also exists specifically over Apple because Apple, directly or

through subsidiaries or intermediaries (including customers, distributors, retailers, and others),

subsidiaries, alter egos, and/or agents – ships, distributes, offers for sale, licenses, sells, imports,

advertises, or markets in the State of Texas and in this District, one or more products or services



                                                   2
             Case 6:21-cv-00670-ADA Document 1 Filed 06/25/21 Page 3 of 21




that infringe the patents-in-suit, as described particularly below. Apple has purposefully and

voluntarily placed one or more of its infringing products and/or services, as described below, into

the stream of commerce with the awareness and/or intent that these products and/or services will

be purchased or used by consumers in this District. Apple has knowingly and purposefully

shipped infringing products into and within this District through an established distribution

channel. These infringing products have been and continue to be purchased and used by

consumers in this District.

        7.       VoIP-Pal’s claim for relief for patent infringement arises directly from the

activities of Apple in this District.

        8.       On information and belief, Apple, directly and/or through its customers has

transacted business in this District and has committed acts of patent infringement in this District.

By virtue of its offices in this District, Apple has a regular and established place of business in

this District. Thus, venue is proper in this District under 28 U.S.C. §§ 1391 and 1400(b).

        BACKGROUND OF THE TECHNOLOGY AND THE PATENTS-IN-SUIT

        9.       United States Patent No. 8,630,234 (the “’234 patent”) entitled “Mobile Gateway”

was duly and legally issued by the United States Patent and Trademark Office on January 14, 2014

after full and fair examination. A copy of the ’234 patent is attached hereto as Exhibit 1.

        10.      United States Patent No. 10,880,721 (the “’721 patent”) entitled “Mobile Gateway”

was duly and legally issued by the United States Patent and Trademark Office on December 29,

2020 after full and fair examination. A copy of the ’721 patent is attached hereto as Exhibit 2.

        11.      The ’234 and ’721 patents are referred to in this Complaint as the “Patents-in-Suit”.




                                                   3
          Case 6:21-cv-00670-ADA Document 1 Filed 06/25/21 Page 4 of 21




       12.     VoIP-Pal is the sole owner and assignee of the entire right title and interest in the

Patents-in-Suit and has the right to sue and recover damages for any current or past infringement

of the Patents-in-Suit.

       13.     The inventions of the Patents-in-Suit originated from breakthrough work and

development in the internet protocol communications field.

       14.     VoIP-Pal has provided significant improvements to communications technology by

the invention of novel methods, processes and apparatuses that facilitate communications across

and between internet protocol based communication systems and other networks, such as internally

controlled systems and external networks (e.g., across private networks and between private

networks and public networks), including providing access to and routing through internet protocol

based communication systems.

       15.     The earliest telephone systems to receive public use within the United States

involved a telephone directly connected to a human operator. A portion of the phone rested on a

mechanical hook such that the operator was signaled when the portion was lifted from the hook.

A caller would then say the name of the person they wished to call to the operator. If the callee

was connected to the same telephone switch board the operator would physically pull out a cable

associated with the caller’s phone and plug the cable into a socket associated with the callee’s

telephone. If the callee was associated with a different switchboard, and thus out of reach of the

operator, a second operator would be involved to bridge the gap to the appropriate switchboard.

While initially very effective compared to no telephone service, this structure quickly proved error

prone (operators would connect the wrong party) and limiting to the number of possible telephones

because of the physical limits of switchboards and cable to be pulled. This basic system

corresponds to the introduction of a Plain Old Telephone Service (“POTS”) connection to the



                                                 4
          Case 6:21-cv-00670-ADA Document 1 Filed 06/25/21 Page 5 of 21




operator. In these configurations, there was a dedicated, point-to-point electrical connection

between the caller and the callee.

       16.     Rotary dialing eventually was introduced, beginning at around the turn of the 20th

century, where a rotary disk was marked with numbers from zero to nine. A caller would spin the

wheel and a mechanical device in the telephone would cause a sequence of electrical pulses to be

sent to the network corresponding to the digit dialed, for example, four pulses would be sent for

the number four. Rather than speaking to a human operator, an electric device would count the

pulses and begin to route a call once an appropriate and valid sequence of digits was dialed by the

caller. This advancement improved reliability of call routing and reduced the time required to

initiate a call. But, even so, there was a dedicated, point-to-point electrical connection between the

caller and the callee. As multiple companies entered the market of telephone service and the

number of customers increased, an issue emerged where a caller would be a customer of one

telephone company and the callee would be a customer of another. The solution that emerged to

this problem was to introduce trunk lines connecting one company to another.

       17.     Eventually, as the number of companies continued to increase and telephone

services spread over much larger geographic areas, the notion of a Public Switched Telephone

Network (“PSTN”) emerged. The term derives from the notion, at least in part, that the dedicated

wires used to connect the caller and callee were “circuit-switched” to connect the two parties. The

PSTN developed gradually into the middle of the 20th century, still built around the notion of

rotary dialing and POTS connections to the individual telephones. These calls involved analog

communications over circuit-switched electrical connections. A circuit-switched network involves

assigning dedicated resources, such as switch settings and specific wires, to establish a link from




                                                  5
          Case 6:21-cv-00670-ADA Document 1 Filed 06/25/21 Page 6 of 21




the caller to the callee. While the call is ongoing, these resources cannot be used for any other

communications.

        18.      The next important advancement for consumer telephone service, introduced

broadly during the second half of the 20th century, was the introduction of push-button telephones.

With such telephones the rotary dial was replaced by a matrix of buttons, each labeled with a digit

from zero through nine along with the additions of ‘*’ and ‘#’. The underlying signaling

technology was called dual-tone multiple-frequency (“DTMF”) and involves two different audible

tones being sent simultaneously from the telephone into the telephone network. A receiver within

the network decoded these tones and formed them into a sequence of digits indicating the number

of the callee.

        19.      Around this same time a scheme for international telephone addressing was

introduced, with a numeric protocol for identifying one country from another and providing

country-specific routing within the destination country. The E.164 standard now documents how

a caller anywhere in the world, for example, in Ann Arbor, Michigan, can identify a telephone

number at any other location, such as Avignon, France. While many of these advances, such as

DTMF dialing and automated international routing, may have been originally introduced via ad

hoc methods, eventually they required multiple parties (companies and governments) to agree on

protocols to enable wide-spread reliable use and inter-operability among different telephone

communications networks. Even with all these advances, the systems still relied on circuit-

switched technology that dedicated resources between the caller and the callee for the duration of

a call. The move to take human operators out of the loop, with the introduction of rotary dialing,

combined with the fast increase in demand for telephone services throughout the 20th century,

resulted in the development of automated telephone switches. These devices comprised a set of



                                                6
          Case 6:21-cv-00670-ADA Document 1 Filed 06/25/21 Page 7 of 21




input ports, each dedicated to, and associated with a specific caller, and output ports, each capable

of being associated with a callee. A small local telephone system may have had a single switch

while a larger service would use a large number of switches that were connected to each other. A

switch from a local service provider would be connected to a trunk line which then connected to

an input switch of another service provider. These switches originally supported analog voice calls

initiated via rotary dialing and dedicating input and output ports as well as physical wires for each

circuit-switched call.

       20.     Eventually analog voice services were replaced within the network with digital

voice. Digital voice is communicated using a sequence of chunks (or packets) of data. This

advancement allowed physical resources to be shared among multiple calls over short bursts of

time. For example, a physical wire can move a packet for one call at a specific instance in time

and then move a packet for a totally different call subsequently, only to later return to transfer a

new packet for the original call. This advance is called packet-switched communications and

provided an important increase in network reliability and efficiency while driving down the cost.

However, in most situations throughout the 20th century (and often still today), the connection to

the end user’s physical telephone is analog. While network switches operate via digital circuitry,

and often comprise programmable processors executing software, they tend to be dedicated

special-purpose devices. The conversion between analog and digital encoding is typically done at

the point where the PSTN network switch connects to the POTS handset, for example, at a device

called a Class-5 telephone switch, which connects the customer POTS handset to the PSTN

network of a service provider’s central office.

       21.     The Internet became important to consumers, via broad deployment, during the late

1980’s and early 1990’s. Eventually available bandwidth and reliability increased to the point



                                                  7
          Case 6:21-cv-00670-ADA Document 1 Filed 06/25/21 Page 8 of 21




where pioneers began to experiment with techniques to carry voice communications over the

Internet. These early efforts began to focus on techniques called Voice Over Internet Protocol

(VOIP) and session initiation protocol (SIP). VOIP provided a consistent set of protocols and

mechanisms for moving digital voice packets between two callers using the Internet rather than

existing PSTN networks. SIP provided a mechanism for establishing and terminating

communication sessions such as calls between users of a VOIP service. For example, a callee could

register with a VOIP service so that an identifier (such as their name, email address or a nickname)

could be associated with the computer to which they are logged in. Eventually VOIP services

increased to provide interoperability with the existing PSTN services. For example, the company

Skype began to allow a user to call a PSTN number using a feature marketed as “Skype out”.

However, the user was required to explicitly classify the call as a PSTN call by specifying a real

physical telephone number. In this case the VOIP system had to include a gateway to bridge from

the VOIP network to the PSTN network in order to route to the physical telephone. Calls that used

a proprietary non-PSTN user identifier such as an email or nickname remained within the VOIP

network and were not routed to the PSTN network to a POTS telephone.

       22.     The advent of digital cellular networks in the 1990’s allowed customers to

physically move their mobile phones from one location to another and enabled convenient mobile

calling. However, despite the increasing popularity of the Internet and the development of Internet-

based VOIP services such as Skype, mobile phone users were forced to use conventional calling

processes to place calls over the then-existing mobile phone and PSTN communication

infrastructure. Also, mobile phone users often had to pay roaming charges for calls if they were

not located in their home area or incurred significant costs to place long-distance calls if the called

party was not local. One technique developed for avoiding the long distance charges charged by



                                                  8
         Case 6:21-cv-00670-ADA Document 1 Filed 06/25/21 Page 9 of 21




mobile telephone service providers was to use a calling card to place a call to a local telephone

number or to a less-expensive phone number (such as a toll-free number), but this technique was

cumbersome and complex as it required the user to dial a special set of numbers or codes.

However, the Patents-in-Suit disclose and claim a distinct manner of mobile call routing.

       23.     Digifonica, a wholly owned subsidiary of patent owner VoIP-Pal, starting in 2004

eventually came to employ over a dozen top professionals (e.g., software developers, system

administrators, QA/test analysts) including three Ph.D.’s with engineering backgrounds, to

develop innovative software solutions for communications. Digifonica spent over $15,000,000

researching, developing, and testing a communication solution capable of seamlessly integrating

a private voice-over-IP (“VoIP”) communication network with an external network (i.e., the

“public switched telephone network” or “PSTN”), by bridging the disparate protocols, destination

identifiers and addressing schemes used in the two networks. Furthermore, Digifonica’s system

optimized the choice of communication infrastructure to be used for any given call based on the

location of the caller and/or callee. Digifonica’s system chose the optimal infrastructure to route

both calls placed over cellular and PSTN networks or placed via internet protocol networks. By

the mid-2000’s, Digifonica had successfully tested intra- and inter-network communications (i.e.,

communications within the private Digifonica system and between the Digifonica system and the

PSTN) by implementing high-capacity communication nodes across three geographic regions,

including actual working communication nodes in Vancouver (Canada) and London (UK).

Digifonica’s R&D efforts led to a number of patent grants, including the Patents-in-Suit.

       24.     The Patents-in-Suit describe novel systems, apparatuses and methods for providing

an access code to roaming mobile communication devices such as smartphones, to enable access




                                                9
           Case 6:21-cv-00670-ADA Document 1 Filed 06/25/21 Page 10 of 21




to suitable communication routing infrastructure, wherein the selection of the communication

channel for a call can be optimized based on the calling device’s current location.


                OVERVIEW OF THE ACCUSED INSTRUMENTALITIES

       25.     Each of the instrumentalities described in this Complaint made, used, sold, offered

for sale, and/or imported by Apple comprises systems, devices and computer-executable program

code relating to and supporting communications using devices, computers, servers, systems and

methods used by, operated by and performed by Apple.

       26.     Apple manufacturers, supports, and operates a communications platform (the

“Apple Calling System”) that includes an Apple server infrastructure and Apple desktop

computers, laptops, tablets, smartphones and mobile devices, and software applications running

on such devices. The Apple server infrastructure relays data packets between users’ registered

devices.

       27.     In the Apple Calling System, users of the desktop computers, laptops, tablets,

smartphones, and mobile devices can send messages including text, images, video, and audio using

the software applications running on such devices, to other users which may be another Apple

subscriber or a non-subscriber. Apple iMessage is a messaging service for iOS and iPadOS

devices, Apple Watch, and Mac computers. iMessage supports text and attachments such as

photos, contacts, locations, links, and attachments directly on to a message. Messages appear on

all of a user’s registered devices so that a conversation can be continued from any of the user’s

devices. iMessage makes extensive use of the Apple Push Notification service (APNs). When a

user turns on iMessage on a device, the device generates encryption and signing pairs of keys for

use with the APNs. The private keys are saved in the device’s keychain and only available after




                                                10
         Case 6:21-cv-00670-ADA Document 1 Filed 06/25/21 Page 11 of 21




first unlock. The public keys are sent to the Apple Identity Service (IDS), where they are

associated with the user’s phone number or email address, along with the device’s APNs address.

       28.     Users start a new iMessage conversation by entering an address or name. If they

enter a phone number or email address, the device contacts the Apple Identity Service (IDS) to

retrieve the public keys and APNs addresses for all of the devices associated with the addressee.

If the user enters a name, the device first uses the user’s Contacts app to gather the phone numbers

and email addresses associated with that name and then gets the public keys and APNs addresses

from IDS.

       29.     In the Apple Calling System, users of the desktop computers, laptops, tablets,

smartphones, and mobile devices can also make voice and video calls using the software

applications running on such devices. Apple FaceTime is Apple’s video and audio calling service.

Like iMessage, FaceTime also makes extensive use of the Apple Push Notification service (APNs).

FaceTime uses the APNs to establish an initial connection to an Apple user’s registered devices.

The initial FaceTime connection is made through the Apple server infrastructure, which can also

be used to carry a FaceTime call if necessary. For example, a user’s Apple mobile telephone uses

APNs notifications and Session Traversal Utilities for NAT (STUN) messages over a relayed

connection through the Apple server infrastructure in order to verify identity certificates and

establish a shared secret for each session associated with the FaceTime call. The shared secret is

used to derive session keys for media channels streamed using the Secure Real-time Transport

Protocol (SRTP). After initial connection and security setup, FaceTime can relay the FaceTime

call through the Apple server infrastructure or use STUN and Internet Connectivity Establishment

(ICE) to establish a peer-to-peer connection between devices, if possible.




                                                11
          Case 6:21-cv-00670-ADA Document 1 Filed 06/25/21 Page 12 of 21




         30.   The Apple Calling System enables mobile telephone or device roaming. The Apple

Calling System produces an access code identifying a communication channel useable by the

mobile telephone or device to initiate a call to a callee using the channel. In the Apple Calling

System, the access code is based on a location identifier and/or based on a location pre-associated

with the mobile telephone or device.

         31.   The Apple Calling System is referred to in this Complaint as the Accused

Instrumentalities.

                                   COUNT 1
                     INFRINGEMENT OF U. S. PATENT NO. 8,630,234

         32.   Paragraphs 1 through 31 are incorporated by reference as if fully stated in this

Count.

         33.   Apple, either alone or in conjunction with others, has infringed and continues to

infringe, both directly and indirectly, one or more claims of the ’234 patent, including at least

exemplary claim 20, under 35 U.S.C. § 271, either literally and/or under the doctrine of

equivalents, by making, using, offering to sell, selling, and/or importing into the United States at

least certain methods, apparatuses, products and services used for communication, including,

without limitation, the Accused Instrumentalities.

         34.   For example, Apple infringes exemplary claim 20 of the ’234 patent by making,

using, offering to sell, selling, and/or importing into the United States at least the Accused

Instrumentalities as detailed in Exhibit 3 to this Complaint.

         35.   On information and belief, Apple has had knowledge of the ’234 patent since at

least January 14, 2014 when the ’234 patent issued. After acquiring that knowledge, Apple

infringed the ’234 patent and in doing so, it knew, or should have known, that its conduct amounted

to infringement of the ’234 patent. Since the issuance of the ’234 patent, the parties have engaged

                                                 12
         Case 6:21-cv-00670-ADA Document 1 Filed 06/25/21 Page 13 of 21




in numerous communications regarding VoIP-Pal’s patent portfolio, including the ’234 patent.

VoIP-Pal explained the value of its patent portfolio to Apple and offered to license its patents in

good faith. Apple reviewed VoIP-Pal’s patent portfolio and advised VoIP-Pal that it was not

interested in taking a license. Apple, however, failed to provide VoIP-Pal any basis as to why it

does not need license despite being subjectively aware of the risk that its conduct constituted

infringement.

       36.      Alternatively, Apple has had knowledge of the ’234 patent since at least November

13, 2015 based on a letter that VoIP-Pal sent Apple notifying Apple of the ’234 patent. After

acquiring that knowledge, Apple infringed the ’234 patent and in doing so, it knew, or should have

known, that its conduct amounted to infringement of the ’234 patent. Since that time, Apple and

VoIP-Pal have engaged in numerous communications regarding VoIP-Pal’s patent portfolio,

including the ’234 patent. The parties have been engaged in multiple litigations and/or post-

issuance proceedings before the Patent Trial and Appeal Board regarding VoIP-Pal’s patents since

February 9, 2016. The parties have also engaged in multiple settlement discussions concerning

VoIP-Pal’s patent portfolio, including the ’234 patent. Through these actions, Apple has acquired

intimate knowledge of VoIP-Pal’s patent portfolio and its infringement of that portfolio.

       37.      Alternatively, Apple has had knowledge of the ’234 patent and its infringement of

the ’234 patent based at least on the filing of this Complaint.

       38.      Despite its knowledge and notice of the ’234 patent as of at least the filing of this

Complaint, Apple has continued to make, use, sell, offer to sell, and/or import the Accused

Instrumentalities in the United States in a manner that infringes the ’234 patent. Apple knew or

should have known that its actions constituted infringement of the ’234 patent. Upon information

and belief, Apple has failed to take adequate steps to avoid infringing the ʼ234 patent, despite



                                                 13
         Case 6:21-cv-00670-ADA Document 1 Filed 06/25/21 Page 14 of 21




having been on notice of and lacking permission to practice the ʼ234 patent. Upon information

and belief, Apple will continue to reap significant revenues and savings based on its infringement

of the ’234 patent. Accordingly, Apple’s infringement has been and continues to be willful.

       39.     Apple has induced infringement, and continues to induce infringement, of one or

more claims of the ’234 patent under 35 U.S.C. § 271(b). Apple actively, knowingly, and

intentionally induced, and continues to actively, knowingly and intentionally induce infringement

of the ’234 patent by: making, using, offering for sale, selling, importing, or otherwise making

available and/or supplying the Accused Instrumentalities; with the knowledge and specific intent

that third parties will use the Accused Instrumentalities supplied by Apple to infringe the ’234

patent; and with the knowledge and specific intent to encourage and facilitate third party

infringement through the dissemination of the Accused Instrumentalities and/or the creation and

dissemination of promotional and marketing materials, supporting materials, instructions, product

manuals, and/or technical information related to the Accused Instrumentalities.

       40.     Apple specifically intended and was aware that the ordinary and customary use of

the Accused Instrumentalities would infringe the ’234 patent. For example, Apple makes, offers

for sale, sells, uses, imports, makes available, and/or provides the Accused Instrumentalities,

which, when used in their ordinary and customary manner as intended by Apple, infringe one or

more claims of the ’234 patent, including at least exemplary claim 20. Upon information and

belief, Apple further provides product manuals and other technical information that cause Apple

customers and other third parties to use and to operate the Accused Instrumentalities for their

ordinary and customary use. Apple customers and other third parties have directly infringed the

’234 patent, including at least exemplary claim 20, through the normal and customary use of the

Accused Instrumentalities. By providing network infrastructure, network services, and device



                                               14
          Case 6:21-cv-00670-ADA Document 1 Filed 06/25/21 Page 15 of 21




configurations for enabling the Accused Instrumentalities, and instruction and training to

customers and other third parties on how to use the Accused Instrumentalities in an infringing

manner, Apple specifically intended to induce infringement of the ’234 patent, including at least

exemplary claim 20. Apple accordingly has induced and continues to induce Apple customers and

other users of the Accused Instrumentalities in their ordinary and customary way to infringe the

’234 patent, knowing, or at least being willful blind to the fact, that such use constitutes

infringement of the ’234 patent.

         41.   Apple has contributed and continues to contribute to the infringement by others,

including its customers, of the ’234 patent under 35 U.S.C. § 271(c) by, among other things,

making, using, selling, offering for sale within the United States and/or importing into the United

States the Accused Instrumentalities for use in practicing the patented inventions of the ’234

patent, knowing that the Accused Instrumentalities and components are especially made or adapted

for use in infringement of the ’234 patent, embody a material part of the inventions claimed in the

’234 patent, and are not staple articles of commerce suitable for substantial non-infringing use.

Apple’s customers directly infringe the ’234 patent by using the Accused Instrumentalities.

         42.   VoIP-Pal has been and continues to be damaged by Apple’s infringement of the

’234 patent.

         43.   Apple’s conduct in infringing the ’234 patent renders this case exceptional within

the meaning of 35 U.S.C. § 285.

                                  COUNT 2
                    INFRINGEMENT OF U. S. PATENT NO. 10,880,721

         44.   Paragraphs 1 through 43 are incorporated by reference as if fully stated in this

Count.




                                                15
         Case 6:21-cv-00670-ADA Document 1 Filed 06/25/21 Page 16 of 21




       45.     Apple, either alone or in conjunction with others, has infringed and continues to

infringe, both directly and indirectly, one or more claims of the ’721 patent, including at least

exemplary claim 38, under 35 U.S.C. § 271, either literally and/or under the doctrine of

equivalents, by making, using, offering to sell, selling, and/or importing into the United States at

least certain methods, apparatuses, products and services used for communication, including,

without limitation, the Accused Instrumentalities.

       46.     For example, Apple infringes exemplary claim 38 of the ’721 patent by making,

using, offering to sell, selling, and/or importing into the United States at least the Accused

Instrumentalities as detailed in Exhibit 4 to this Complaint.

       47.     On information and belief, Apple has had knowledge of the application that led to

the ’721 patent since at least November 13, 2015 based on a letter that VoIP-Pal sent Apple

notifying Apple of the application that led to the ’721 patent. After acquiring that knowledge,

Apple infringed the ’721 patent and in doing so, it knew, or should have known, that its conduct

amounted to infringement of the ’721 patent. Since that time, the parties have engaged in

numerous communications regarding VoIP-Pal’s patent portfolio, including the application that

led to the ’721 patent. VoIP-Pal explained the value of its patent portfolio to Apple and offered to

license its patents in good faith. Apple reviewed VoIP-Pal’s patent portfolio and advised VoIP-

Pal that it was not interested in taking a license. Apple, however, failed to provide VoIP-Pal any

basis as to why it does not need license despite being subjectively aware of the risk that its conduct

constituted infringement.

       48.     On information and belief, Apple has had knowledge of the ’721 patent since at

least December 29, 2020 when the ’721 patent issued. After acquiring that knowledge, Apple

infringed the ’721 patent and in doing so, it knew, or should have known, that its conduct amounted



                                                 16
         Case 6:21-cv-00670-ADA Document 1 Filed 06/25/21 Page 17 of 21




to infringement of the ’721 patent. Since the issuance of the ’721 patent, Apple and VoIP-Pal have

engaged in numerous communications regarding VoIP-Pal’s patent portfolio, including the ’721

patent. The parties have been engaged in multiple litigations and/or post-issuance proceedings

before the Patent Trial and Appeal Board regarding VoIP-Pal’s patents since February 9, 2016.

The parties have also engaged in multiple settlement discussions concerning VoIP-Pal’s patent

portfolio, including the ’721 patent.     Through these actions, Apple has acquired intimate

knowledge of VoIP-Pal’s patent portfolio and its infringement of that portfolio.

       49.     Alternatively, Apple has had knowledge of Apple has had knowledge of its

infringement of the ’721 patent based at least on the filing of this Complaint.

       50.     Despite its knowledge and notice of the ’721 patent as of at least the filing of this

Complaint, Apple has continued to make, use, sell, offer to sell, and/or import the Accused

Instrumentalities in the United States in a manner that infringes the ’721 patent. Apple knew or

should have known that its actions constituted infringement of the ’721 patent. Upon information

and belief, Apple has failed to take adequate steps to avoid infringing the ʼ721 patent, despite

having been on notice of and lacking permission to practice the ʼ721 patent. Upon information

and belief, Apple will continue to reap significant revenues and savings based on its infringement

of the ’721 patent. Accordingly, Apple’s infringement has been and continues to be willful.

       51.     Apple has induced infringement, and continues to induce infringement, of one or

more claims of the ’721 patent under 35 U.S.C. § 271(b). Apple actively, knowingly, and

intentionally induced, and continues to actively, knowingly and intentionally induce infringement

of the ’721 patent by: making, offering for sale, selling, importing, and/or otherwise making

available and/or supplying the Accused Instrumentalities; with the knowledge and specific intent

that third parties will use the Accused Instrumentalities supplied by Apple to infringe the ’721



                                                17
         Case 6:21-cv-00670-ADA Document 1 Filed 06/25/21 Page 18 of 21




patent; and with the knowledge and specific intent to encourage and facilitate third party

infringement through the dissemination of the Accused Instrumentalities and/or the creation and

dissemination of promotional and marketing materials, supporting materials, instructions, product

manuals, and/or technical information related to the Accused Instrumentalities.

       52.     Apple specifically intended and was aware that the ordinary and customary use of

the Accused Instrumentalities would infringe the ’721 patent. For example, Apple makes, sells,

offers for sale, uses, imports, makes available, and/or provides the Accused Instrumentalities,

which, when used in their ordinary and customary manner as intended by Apple, infringe one or

more claims of the ’721 patent, including at least exemplary claim 38. Upon information and

belief, Apple further provides product manuals and other technical information that cause Apple

customers and other third parties to use and to operate the Accused Instrumentalities for their

ordinary and customary use. Apple customers and other third parties have directly infringed the

’721 patent, including at least exemplary claim 38, through the normal and customary use of the

Accused Instrumentalities. By providing network infrastructure, network services, and device

configurations for enabling the Accused Instrumentalities, and instruction and training to

customers and other third parties on how to use the Accused Instrumentalities in an infringing

manner, Apple specifically intended to induce infringement of the ’721 patent, including at least

exemplary claim 38. Apple accordingly has induced and continues to induce Apple customers and

other users of the Accused Instrumentalities in their ordinary and customary way to infringe the

’721 patent, knowing, or at least being willful blind to the fact, that such use constitutes

infringement of the ’721 patent.

       53.     Apple has contributed and continues to contribute to the infringement by others,

including its customers, of the ’721 patent under 35 U.S.C. § 271(c) by, among other things,



                                               18
         Case 6:21-cv-00670-ADA Document 1 Filed 06/25/21 Page 19 of 21




making, using, selling, offering for sale within the United States and/or importing into the United

States the Accused Instrumentalities for use in practicing the patented inventions of the ’721

patent, knowing that the Accused Instrumentalities and components are especially made or adapted

for use in infringement of the ’721 patent, embody a material part of the inventions claimed in the

’721 patent, and are not staple articles of commerce suitable for substantial non-infringing use.

Apple’s customers directly infringe the ’721 patent by using the Accused Instrumentalities.

        54.     VoIP-Pal has been and continues to be damaged by Apple’s infringement of the

’721 patent.

        55.     Apple’s conduct in infringing the ’721 patent renders this case exceptional within

the meaning of 35 U.S.C. § 285.

                                  DEMAND FOR JURY TRIAL

        Under Rule 38 of the Federal Rules of Civil Procedure and Local Rule 38(a), VoIP-Pal

demands a trial by jury on all issues so triable.

                                      PRAYER FOR RELIEF

        WHEREFORE, VoIP-Pal prays for the following relief:

        a)      A judgment and order that Apple has directly infringed (either literally or under the

doctrine of equivalents) and/or induced the infringement of the patents-in-suit;

        b)      A judgment and order permanently enjoining Apple, its respective officers,

directors, agents, servants, employees, attorneys, licensees, successors, and assigns and any other

person(s) in active concert or participation with Apple from directly infringing the patents-in-suit

for the full term of the patents-in-suit;

        c)      A judgement that the infringement of the patents-in-suit by Apple has been willful;




                                                    19
         Case 6:21-cv-00670-ADA Document 1 Filed 06/25/21 Page 20 of 21




       d)        A judgment and order requiring Apple to pay VoIP-Pal an award of damages under

35 U.S.C. § 284, adequate to compensate VoIP-Pal for Apple’s past infringement, but in no event

less than a reasonable royalty, including enhanced damages as provided by 35 U.S.C. § 284, and

supplemental damages for any continuing post-verdict infringement up until entry of the final

judgment with an accounting, as needed, as well as damages for any continuing or future

infringement up to and including the date that Apple is finally and permanently enjoined from

further infringement;

       e)        A judgment and order requiring that in the event a permanent injunction preventing

future acts of infringement is not granted, that VoIP-Pal be awarded a compulsory ongoing

licensing fee;

       f)        A judgment and order that this action be found an exceptional case pursuant to 35

U.S.C. § 285, entitling VoIP-Pal to an award of all costs of this action, including attorneys’ fees

and interest;

       g)        A judgment and order requiring Apple to pay VoIP-Pal the costs of this action;

       h)        A judgment and order requiring Apple to pay VoIP-Pal pre-judgment and post-

judgment interest on the damages award; and

       i)        Such other and further relief as the Court deems just and equitable.

       Dated: June 25, 2021

                                               Respectfully submitted,


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                                                  20
Case 6:21-cv-00670-ADA Document 1 Filed 06/25/21 Page 21 of 21




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                              21
